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                      THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF KENTUCKY
                                OWENSBORO DIVISION

   LWD PRP GROUP,                                          )
                                                           )
                  Plaintiff,                               )
                                                           )
                       v.                                  )   Civil Action No. 5:12-CV-00127-
                                                           )   JHM-HBB
   ACF INDUSTRIES LLC, et al.                              )
                                                           )
                  Defendants.
                                                           )

                       MOTION FOR CLERK’S ENTRY OF DEFAULT
                   AS TO DEFENDANT PEOPLES NATURAL GAS CO. LLC

   TO:    VANESSA L. ARMSTRONG
          CLERK OF THE COURT
          UNITED STATES DISTRICT COURT
          WESTERN DISTRICT OF KENTUCKY

          Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, Plaintiff LWD PRP

   Group respectfully requests the Clerk of the Court enter the default of Defendant Peoples Natural

   Gas Co. LLC (proposed Entry of Default is attached hereto as Ex. A), which defendant has failed

   to answer or otherwise defend the Complaint herein, as fully appears from the Court file herein

   and from the attached Affidavit of Gary D. Justis (Ex. B hereto) in support of this request for the

   Clerk’s Entry of Default.
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   Dated: October 15, 2014            Respectfully submitted,


                                      /s/ Gary D. Justis
                                      Gary D. Justis               admitted pro hac vice
                                      THE JUSTIS LAW FIRM LLC
                                      5251 W. 116th Place, Suite 200
                                      Leawood, Kansas 66211-7820
                                      Telephone: (913) 998-6100
                                      Facsimile: (913) 998-6101
                                      Email: gjustis@justislawfirm.com
                                             and
                                      W. Fletcher McMurry Schrock (Ky. Bar# 62283)
                                      MCMURRY & LIVINGSTON, PLLC
                                      333 Broadway, 7th Floor
                                      P.O. Box 1700
                                      Paducah, Kentucky 42002-1700
                                      Telephone: (270) 443-6511
                                      Facsimile: (270) 443-6548
                                      Email: fletch@ml-lawfirm.com

                                      ATTORNEYS FOR PLAINTIFF LWD PRP
                                      GROUP




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                                     CERTIFICATE OF SERVICE

           I hereby certify that on October 15, 2014, a copy of the foregoing Motion for Clerk’s

   Entry of Default as to Defendant Peoples Natural Gas Co. LLC was filed electronically. Notice

   of this filing will be sent to all parties by operation of the Court’s electronic filing system. Parties

   may access this filing through the Court’s Electronic Case Filing System. I further certify that on

   October 15, 2014, the foregoing Motion for Clerk’s Entry of Default as to Defendant Peoples

   Natural Gas Co. LLC was also placed in the U.S. Mail, postage prepaid, to the following

   representative for Defendant Peoples Natural Gas Co. LLC:

                   Joyce C. Dailey, Esq.
                   Vice President, Legal
                   Peoples Natural Gas Co. LLC
                   1201 Pitt St.
                   Pittsburgh, PA 15221


                                                  /s/ Gary D. Justis
                                                  Gary D. Justis




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